              Case 1:21-cv-00892-RP Document 14 Filed 02/07/22 Page 1 of 4


       RECEIVED
       February 07, 2022
    CLERK, U.S. DISTRICT COURT
                                       February 7th, 2022
    WESTERN DISTRICT OF TEXAS

                  JMV
  BY:_______________________________
                                                                        FILED
                          DEPUTY
                                                                  February 07, 2022
                                                                 CLERK, U.S. DISTRICT COURT
Defendants:                                                      WESTERN DISTRICT OF TEXAS

                                                                              JMV
                                                              BY: ________________________________
                                                                                      DEPUTY
Defendant’s Counsel: Donald E. Uloth

Texas Bar No. 20374200

18208 Preston Rd. Suite D-9 #261

Dallas, Texas 75252

Phone: (214) 989-4396

Fax: (972) 777-6951

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Trial Court Clerk: Dallas County 162nd District Court

Clerk of the Court: Felicia Pitre

600 Commerce Street, Suite 103

Dallas, Texas 75202

(214) 653-7307

felicia.pitre@dallascounty.org



Trial Court Coordinator: Dallas 162nd District Court

Court Coordinator: Melinda Thomas

600 Commerce Street, Room 730 B

Dallas, Texas 75202

(214) 653-7348

mthomas@dallascourts.org




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Appellate Court Clerk: Dallas 5th Court of Appeals

Clerk of the Court: Lisa Matz

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Dallas, Texas, 75202

Phone: (214) 712-3450

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TheClerk@5th.txcourts.gov



Supreme Court of Texas Deputy Clerk:

Deputy Clerk of the Court: Kristen Golby

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Supreme Court of Texas Clerk:

Clerk of the Court: Blake A. Hawthorne

201 W. 14th Street, Room 104

Austin, Texas 78701

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          Case 1:21-cv-00892-RP Document 14 Filed 02/07/22 Page 3 of 4



Re: Kimberly D. Hogan Vs. Aspire Financial Inc.
                        No. 1:21-CV-0892 United States District Court Western District of
                            Texas Austin Division
                        No. 21-0556 in Supreme Court of Texas
                        No. 05-19-00385-CV in Dallas 5th Appellate court
                                       And the Lower Court:
                        No. DC-18-01806 in Dallas County 162nd District Court




I, Kimberly D. Hogan am writing and e-filing this Letter containing Attachments (YET AGAIN!) of
My Complaint/Removal/Appeal, including your Waiver of Service of Summons Fee Docs (Also
previously 1st Class Mailed Twice!) to all recipients/defendants today to ensure your receipt,
and for proof that they were sent.


Earlier today I received a returned UNSIGNED Waiver of Service of Summons Fee Form from
Melinda Thomas; it seems in all her years working in the courts she does Not know Rule 4, and
completely overlooked it even though it is right there in plain view attached at the button of the
document she refused to sign. See Miss Thomas’s Unsigned returned doc here:
https://documentcloud.adobe.com/link/review?uri=urn:aaid:scds:US:3e2fbcc7-125b-4987-ae54-
55fc03236841
Here is a copy of Rule 4 stating that sending the documents First Class Mail (which I did twice!)
is an acceptable form of Delivery:
https://documentcloud.adobe.com/link/review?uri=urn:aaid:scds:US:1911199a-f1b0-4b89-b8b2-
777403cb2709


By now Surely all Defendants have received their 2 Copies of their Waiver of Service of
Summons Fee Forms (First Class Mailed on January 19th 2022, including their postage paid
return envelopes), which also included their copies of My Complaint/Removal/Appeal. Once
Again I include Yet Another Copy of that Filed Document here for all of you:
https://documentcloud.adobe.com/link/review?uri=urn:aaid:scds:US:e59d3e9d-befc-420f-a672-6
0d32f2ba994




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I urge that all of you stop wasting my money, my patience, and valuable time, and sign and
return to me immediately (the already sent via FIRST CLASS MAIL) your Signed Forms in the
SUPPLIED POSTAGE PAID ENVELOPES!




Seriously!
/s/ Kimberly D. Hogan

Kimberly D. Hogan

10015 Lake Creek Pkwy. #621

Austin, Texas 78729

(303)246-1587

kdhogan@ymail.com




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